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 1   ROB BONTA
     Attorney General of California
 2   DARRELL W. SPENCE, State Bar No. 248011
     Supervising Deputy Attorney General
 3   1300 I Street, Suite 125
      P.O. Box 944255
 4    Sacramento, CA 94244-2550
      Telephone: (916) 210-6089
 5    Fax: (916) 324-5567
      E-mail: Darrell.Spence@doj.ca.gov
 6   Attorneys for Defendants
     California Department of Education, Tony
 7   Thurmond, in his official capacity as the State
     Superintendent of Public Instruction, and State
 8   Board of Education
 9
                                  UNITED STATES DISTRICT COURT
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                               NORTHERN DISTRICT OF CALIFORNIA
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14   EMMA C., et al.,                                       Case No. 3:96-cv-4179-VC
15                                          Plaintiffs, EXHIBITS TO STATE DEFENDANTS’
                                                        SUPPLEMENTAL PHASE 3B CIM STEP
16                  v.                                  1 SUBMISSION
17                                                          EXHIBIT 255 – EXHIBIT 322
     THURMOND, et al.,
18                                                          VOL. 3 OF 8
                                         Defendants.
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